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 1
                                                                             Hon. Benjamin H. Settle
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 6
                            UNITED STATES DISTRICT COURT
 7                    WESTERN DISTRICT OF WASHINGTON AT TACOMA

 8
     RANDALL STEVENS                                   NO. 3:22-cv-05862-BHS
 9
                            Plaintiff,
10
              v.                                       MOTION FOR LEAVE TO WITHDRAW
11
     PIERCE COUNTY et al.                              Noted on Motion Calendar for:
12
                            Defendants.               11/24/2023
13

14

15

16                                              I.   FACTS
17
             This case was filed on November 8, 2022. Discovery closes on January 29, 2024 (a
18
     stipulated motion to modify the schedule may be forthcoming). Trial is set for May 28, 2024. There
19
     are motions pending and a new development that would permit undersigned counsel to greatly
20

21   simplify the case and benefit Plaintiff. However, according to the Rules of Professional Conduct,

22   the contemplated adjustments to the case would require Plaintiff’s consent.

23           Moreover, the time is fast approaching when Plaintiff must be available for a deposition, a
24   possible defense medical examination, and to sign declarations associated with dispositive motion
25
     practice. Plaintiff has not responded to emails, text messages, or phone calls of undersigned counsel
26
      Motion to Withdraw                                              LAW OFFICE OF JACKSON MILLIKAN
                                                                                 2540 Kaiser Rd.
                                                                               Olympia, WA 98502
                                                                            Telephone: (360) 866-3556
                                                                            www.MillikanLawFirm.com


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 1   and at least one expert witness. Plaintiff’s last contact was by email on October 3, 2023, after which
 2   all communications have stopped.
 3
                                      II.   DECLARATION OF COUNSEL
 4
             I have tried reaching my client many times by email, telephone, text message, and US
 5
     Mail. I believe my client has moved from his last known official address to that of his father’s.
 6

 7   In an abundance of caution, I have directed mail to both addresses and personal service to the

 8   address of my client’s father.

 9           Last Known Official Address:                  Believed Current Address:
10
             Randy Stevens                                 Randy Stevens c/o His Father
11           3658 Bridgeport Way West # B202               2020 NW Oceanview Dr.
             University Place, WA 98466                    Waldport, OR 97394
12
             By my signature below, I hereby declare under penalty of 28 U.S.C. § 1746 that I served
13
     this motion by registered mail, electronic mail, and by providing it to a process server (return of
14

15   service to be filed upon service) on this 1st day of November, 2023.

16                                            III.   MOTION
17           It is not undersigned counsel’s desire to withdraw, however the RPC and related advisory
18
     opinions (1864, 1873, 1920) counsel that, unless Plaintiff resurfaces and cooperates, withdrawal is
19
     the appropriate measure. LCR 83.2(b) states that counsel “will ordinarily be permitted to withdraw
20
     until sixty days before the discovery cutoff date in a civil case….”
21

22           This motion is noted for November 24, 2023, which is the Friday prior to 60 days before

23   the January 29, 2024 discovery cutoff and consistent with the LCR 7(d)(3) requirement that it be

24   noted “no earlier than the third Friday after filing and service.” If Plaintiff resurfaces and
25   demonstrates cooperation in the prosecution of his claims, then undersigned counsel will, upon
26

      Motion to Withdraw                                               LAW OFFICE OF JACKSON MILLIKAN
                                                                                   2540 Kaiser Rd.
                                                                                 Olympia, WA 98502
                                                                              Telephone: (360) 866-3556
                                                                            Jackson@MillikanLawFirm.com

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 1   execution of an addendum to the Representation Contract between himself and Plaintiff, strike this
 2   Motion in accordance with LCR 7(l).
 3
             If this Motion is not struck on or before the noting date, then undersigned counsel hereby
 4
     moves for leave to withdraw from this case.
 5

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 7

 8
                                                                   s/ Jackson Millikan
                                                                By__________________________
 9                                                                Jackson Millikan, WSB# 47786
                                                                  Plaintiff’s Counsel
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      Motion to Withdraw                                            LAW OFFICE OF JACKSON MILLIKAN
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